

Matter of Attorneys in Violation of Judiciary Law § 468-a (Drakodaidis) (2024 NY Slip Op 05526)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Drakodaidis)


2024 NY Slip Op 05526


Decided on November 7, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:November 7, 2024

PM-214-24
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Aliki Drakodaidis, Also Known as Aliki Sofis, Respondent. (Attorney Registration No. 4836748.)

Calendar Date:September 30, 2024

Before:Clark, J.P., Reynolds Fitzgerald, Ceresia, Fisher and Mackey, JJ., concur. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.
Aliki Drakodaidis, West Newton, Massachusetts, respondent pro se.



Motion by respondent for an order reinstating her to the practice of law following her suspension by September 2022 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 208 AD3d 1421, 1428 [3d Dept 2022]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's affidavit with exhibits sworn to August 28, 2024, and the September 17, 2024 correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Clark, J.P., Reynolds Fitzgerald, Ceresia, Fisher and Mackey, JJ., concur.








